
PER CURIAM.
This court by its opinion and judgment dated March 19, 1963, 151 So.2d 19, affirmed a final decree which had been rendered in the Circuit Court of Dade County, in Chancery, case #61C 2286, in favor of the plaintiff. On certiorari, the United States Supreme Court, 84 S.Ct. 1903, 12 L.Ed.2d 1033, reversed this court’s judgment and remanded the cause by a per curiam order.
As directed by the mandate of that Court filed herein on July 27, 1964, it is ordered that our judgment in the case is vacated and the final decree entered by the Circuit Court of Dade County, Florida, is reversed, and the cause is remanded with directions to dismiss the bill of complaint.
It is further ordered that the appellate costs in this court, and the $100 costs for which the United States Supreme Court gave judgment to the defendant against the plaintiff, shall he taxed in the trial court. See Rule 3.16(b), Florida Appellate Rules, 31 F.S.A.
